     Case 4:19-cv-07803-DMR          Document 18        Filed 10/04/19      Page 1 of 4




                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

LOGAN BACHSTEIN,

                        Plaintiff,

v.                                                           Case No: 6:19-cv-1484-Orl-41LRH

DISCORD, INC.,

                        Defendant.


                                               ORDER
          This cause came on for consideration without oral argument on the following motion filed

herein:

          MOTION:       DEFENDANT’S AGREED MOTION TO POSTPONE CASE
                        MANAGEMENT CONFERENCE OR, IN THE
                        ALTERNATIVE, FOR LEAVE TO TELEPHONICALLY
                        APPEAR AT CASE MANAGEMENT CONFERNECE (Doc.
                        15)

          FILED:        September 26, 2019


          THEREON it is ORDERED that the motion is GRANTED IN PART and
          DENIED IN PART.

          On August 12, 2019, Plaintiff Logan Bachstein (Plaintiff) filed a complaint against

Defendant Discord, Inc. (Defendant), a corporation that provides online forums where users can

interact, asserting several negligence related claims against the Defendant stemming from the

misappropriation of the Plaintiff’s cryptocurrency, Bitcoin, by another user. (Doc. 1 (Complaint)).

          In response to the Complaint, on September 23, 2019, the Defendant filed a motion to

transfer the case to the United States District Court for the Northern District of California or, in the
   Case 4:19-cv-07803-DMR             Document 18        Filed 10/04/19       Page 2 of 4




alternative, a motion to dismiss for lack of personal jurisdiction and failure to state a claim upon

which relief may be granted pursuant to Federal Rules of Civil Procedure 12(b)(2) and (b)(6),

respectfully. (Doc. 14 (Motion to Dismiss)). The Plaintiff has not yet filed a response to the

Motion to Dismiss, and he has until October 14, 2019 to do so. (Doc. 17).

        On September 26, 2019, the Defendant filed a motion to stay the deadline for the parties to

complete the case management conference until the resolution of the Motion to Dismiss. (Doc. 15

(Motion to Stay)). In support, the Defendant contends that the granting of any of the three

arguments raised in the Motion to Dismiss, i.e. the request to transfer, the request to dismiss for lack

of personal jurisdiction, and the request to dismiss for failure to state a claim, will be case dispositive

(at least in this Court). (Id. at 2-3). Therefore, the Defendant argues that there is good cause to

stay the case management conference pending ruling on the Motion to Dismiss.                   (Id. at 3).

Alternatively, the Defendant requests that if the Court is not inclined to stay the case management

conference, that the parties be permitted to conduct the same telephonically.          (Id. at 3-4). The

Motion is unopposed.

        The Defendant’s request to stay the case management conference deadline (which is

currently October 21, 2019) is essentially a request to stay discovery, since discovery cannot

commence, absent court order, until the parties complete the case management conference. Fed.

R. Civ. P. 26(d)(1). Therefore, the Court will evaluate the Defendant’s request under the applicable

standard for staying discovery.

        The Court has broad discretion to stay discovery as part of its inherent authority to control

its docket. Clinton v. Jones, 520 U.S. 681, 706 (1997); see also Panola Land Buyers Ass’n v.

Shuman, 762 F.2d 1550, 1560 (11th Cir. 1985) (“[A] magistrate has broad discretion to stay

discovery pending decision on a dispositive motion.”). However, a motion to stay discovery



                                                   -2-
  Case 4:19-cv-07803-DMR           Document 18        Filed 10/04/19      Page 3 of 4




pending a ruling on a dispositive motion is generally disfavored, “because when discovery is delayed

or prolonged it can create case management problems which impede the Court’s responsibility to

expedite discovery and cause unnecessary litigation expenses and problems.” Feldman v. Flood,

176 F.R.D. 651, 652 (M.D. Fla. 1997) (quoting Simpson v. Specialty Retail Concepts, Inc., 121

F.R.D. 261 (M.D.N.C. 1988)); see Middle District Discovery (2015) at (I)(E)(4). The moving party

bears the burden of showing good cause to stay discovery. Feldman, 176 F.R.D. at 652; see Middle

District Discovery (2015) at (I)(E)(4) (the court may stay discovery “upon a specific showing of

prejudice or undue burden.”). In determining whether a stay of discovery is warranted, the Court

must balance the harm produced by delay against the possibility that the dispositive motion will be

granted and entirely eliminate the need for discovery. Feldman, 176 F.R.D. at 652. In making

this determination, “it is necessary for the Court to take a preliminary peek at the merits of the

motion to dismiss to see if it appears to be clearly meritorious and truly case dispositive.” Id. at

652-53 (quotations omitted).

       The Defendant has not stated good cause to stay the case management conference (or

discovery). Without expressing any opinion as to final resolution of the Motion to Dismiss, the

Court is not convinced at this point in time that the Motion to Dismiss is clearly meritorious. This

is in large part due to the lack of a response to the Motion to Dismiss. And even if the Court were

to ultimately agree with the Defendant’s request to transfer the case or dismiss for lack of personal

jurisdiction, such a decision would not be case dispositive since much of the work performed while

the case is pending here would not necessarily be undone by transferring the case to the Northern

District of California or dismissing it for lack of personal jurisdiction. While it does appear that

the Defendant’s 12(b)(6) argument may be case dispositive since it contends that the Plaintiff’s

claims are barred under the Communications Decency Act, 47 U.S.C. § 230(c)(1), it again remains



                                                -3-
  Case 4:19-cv-07803-DMR             Document 18     Filed 10/04/19     Page 4 of 4




unclear whether that claim is truly meritorious given the lack of a response from the Plaintiff. In

light of the foregoing, the Court finds that the Motion to Dismiss is not a basis to stay the case

management conference because it is unclear whether it will entirely eliminate the need for

discovery. Further, the Court finds that a stay of the case management conference, even a

temporary one, would frustrate the progress of this case if it were to proceed to the merits here.

Therefore, the Defendant’s request to stay the case management conference deadline is not well-

taken.

         Turning to the Defendant’s alternative argument to conduct the case management conference

telephonically, the Court finds that request well-taken since counsel for the parties are located

throughout Florida and California.

         Accordingly, it is ORDERED that:

         1. The Motion to Stay (Doc. 15) is GRANTED to the extent that the parties may conduct

            the case management conference telephonically for the purpose of preparing the Case

            Management Report.

         2. The Motion to Stay (Doc. 15) is DENIED in all other respects.

         DONE and ORDERED in Orlando, Florida on October 4, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                               -4-
